                    Case 4:18-cr-00223-RCC-DTF Document 209 Filed 05/13/19 Page 1 of 1
                                       UNITED STATES DISTRICT COURT
                                                             'RICT OF ARIZONA
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PLAINTIFF                                                                                       W,ITNESS LIST
                      V.                                      MAY 1 J 2019

Scott Daniel Warren

  PRESIDING JUDGE   cO11 in 5                 couRTROOM DEPUTY      Sherry Gammon                COURT REPORTER   Erica McQuillen
  HEARING/TRIAL DATE (s)   May 13, 2019       PLAINTIFF ATTORNEY (s)      Anna Wright,           DEFENDANT ATTORNEY (s)   Greg Kuykendall,
                                                                          Nathaniel Walters                               Amy Knight
                                        -

  PLF       DFT     DATE SWORN        DATE APPEARED                                                                                 Under
                                                                                 WITNESSES                                          Rule

            ,/    sl 1.~I ,ei         5/ 1-3! 19                                      Dr. Robin Reineke
            /.       5   /I~\   Ill   5/,g) JCj                                          Maryada Vallet
